                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                  2:08cr12

UNITED STATES OF AMERICA              )
               Plaintiff,             )
                                      )
            v.                        )
                                      )
AMY ELIZABETH ARCH,                   )
                  Defendant,          )
and                                   )
                                      )
EASTERN BAND OF CHEROKEE INDIANS, )
                  Garnishee.          )
_____________________________________ )

      THIS MATTER is before the court on the government’s Motion for Dismissal

of Writ of Garnishment. For cause, the government states that the defendant is now

deceased. Having considered the government’s motion and reviewed the pleadings,

and it appearing that the undersigned entered the writ which the government seeks to

terminate, the court enters the following Order.



                                     ORDER

      IT IS, THEREFORE, ORDERED that the government’s Motion for

Dismissal of Writ of Garnishment (#131) is ALLOWED, the Writ is RECALLED

nunc pro tunc as of December 10, 2009, and DISMISSED.




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                                 Signed: January 21, 2010




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